                             Case 1:21-cr-00231-UNA Document 2 Filed 06/09/21 Page 1 of 1
U.S. Department of Justice
United States Attorney




                                    IN THE UNITED STATES DISTRICT COURT                                               FILED IN OPEN COURT
                                          FOR THE NORTHERN DISTRICT OF GEORGIA                                          U.S.D.C.-Atlanta


                                                                  Division: Atlanta
                                                                                                                        JUN - 9 2021
                                                                  (USAO: 2021R00103)
                                                                                     JAMES                                     ^TJ£N, Clerk
                                 DEFENDANT INFORMATION RELATIVE TO A CRIMINAL ACTION BV<-                                         Deputy Clerk



 COUNTf NAME: Fulton                                                     DISTRICT COURT NO. !• •81CR0231

                                                                         MAGISTRATE CASE NO.

 X Indictment                                       Information                              Magistrate's Complaint
 DATE: June 9,2021                                  DATE:                                    DATE:

                              UNITED STATES OF AMERICA                   SUPERSEDING INDICTMENT
                                        vs.                             Prior Case Number:
                                 HERBERT E. LEWIS                       Date Filed:

 GREATER OFFENSE CHARGED: X Felony Misdemeanor


                                                            Defendant Information:
Is the defendant in custody? Yes X No
Will the defendant be arrested pending outcome of this proceeding? X Yes No
Is the defendant a fugitive? Yes X No
Has the defendant been released on bond? Yes X No


Will the defendant require an interpreter? Yes X No




District Judge:



Attorney: Thomas J. Krepp
Defense Attorney:
